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Attorney for Plaintiff
ALICIA OLIVE

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                        :
ALICIA OLIVE,                           :
                                          Civil Action No.: ______
                                        :
                   Plaintiff,           :
      v.                                :
                                        :
LOANMAX, LLC,                           :
                                          COMPLAINT
                                        :
                   Defendant.           :
                                        :
                                        :

      Plaintiff, ALICIA OLIVE (“Plaintiff” or “Borrower”), by and through her

counsel, hereby complains, alleges and states against Defendant LoanMax, LLC

(“Defendant”, “LoanMax” or “Creditor”) as follows:


                                JURISDICTION AND VENUE




      1.     This action arises out of Defendant’s violation of the TCPA by
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negligently, knowingly, and/or willfully placing automated calls to Plaintiff’s

cellular phone without consent.

      2.    Additionally, this action also arises out of Defendant’s violations of

NRS 604A by engaging in illegal, unprofessional and unfair collection tactics in its

efforts to collect a title loan. When collecting a debt subject to the provisions of

NRS 604A, a licensee must act in accordance with and must not violate sections

803 to 812, inclusive, of the federal Fair Debt Collection Practices Act

(“FDCPA”), as amended, 15 U.S.C. §§ 1692a to 1692j, inclusive, “even if the

licensee is not otherwise subject to the provisions of the [FDCPA].”           NRS

604A.5068. As such, a violation of the FDCPA a though j is also a violation of

NRS 604A.

      3.    This Court has federal question jurisdiction because this case arises

out of Defendant’s violations of the Telephone Consumer Protection Act, 47

U.S.C. § 227, et seq. (“TCPA”); 28 U.S.C. §1331; Mims v. Arrow Fin. Serv., LLC,

132 S.Ct. 740 (2012). Supplemental jurisdiction exists pursuant to 28 U.S.C. §

1367.1 over Plaintiff’s Nevada Revised Statute 604A.101 et seq. (“NRS 604A”)

claims.

      4.    Venue is proper in the United States District Court for the District of

Nevada pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark

County, Nevada and because LoanMax is subject to personal jurisdiction in Clark
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County, Nevada because it regularly conducts business there. Venue is also proper

because the conduct giving rise to this action occurred in Nevada. 28 U.S.C. §

1391(b)(2). Further, Defendant has a registered agent of service in Nevada and is

listed with the Nevada Secretary of State as a foreign limited liability company

doing business in Nevada.

                                           PARTIES

      5.     Plaintiff is a natural person residing in Clark County, Nevada.

      6.     Plaintiff is, and at all times mentioned herein was, a “person” as

defined by 47 U.S.C. § 153(39).

      7.     Plaintiff’s allegations in this Complaint are based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts and experiences, and, as to all

other matters, upon information and belief, including investigation conducted by

Plaintiff’s attorneys.

      8.     Defendant is a foreign limited liability company doing business in

Clark County, Nevada. Defendant is engaged in the business of providing, inter

alia, title loan services for a fee, service charge or other consideration.

      9.     Defendant has been issued one or more licenses to operate a title loan

service and is a “licensee” as that term is defined in NRS 604A.075.

      10.    Defendant is a “person,” as defined by 47 U.S.C. § 153 (39).

      11.    Defendant, at all relevant times metioned herein, acted by and through
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one or more of its employees, officers, agents, representatives, affiliates or

subsidiaries.

                    NRS 604A & FDCPA GENERAL ALLEGATIONS

      12.       On or about June 9, 2017, Defendant made a loan (“Loan”) to Plaintiff

and executed that certain Title Loan Agreement & Security Agreement (“Loan

Agreement”) with Plaintiff.

      13.       The annual percentage rate (APR) on the Loan was 209.59% and the

terms of the Loan Agreement required Plaintiff to grant Defendant a perfected

security interest in Plaintiff’s vehicle, a 1999 Buick LeSabre (“Vehicle”). As such,

the Loan constituted a “title loan” as that term is defined in NRS 604A.105.

      14.       Thereafter, Plaintiff unexpectedly lost her job, resulting in a

significant decline in her income.

      15.       Plaintiff struggled just to cover her basic living expenses and was

unable to pay her debts as they came due.

      16.       Plaintiff, an elderly woman, attempted to honor her agreement with

Defendant. Plaintiff called Defendant and explained that because of her loss of

employment she was unable to repay the Loan and informed Defendant that they

could repossess the Vehicle at any time.

      17.       Plaintiff was abruptly informed by Defendant that they do not want

the Vehicle and that she needed to pay the Loan.
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         18.   Defendant engaged in a telephonic and texting barrage campaign to

badger and harass Plaintiff to collect the Loan. Defendant repeatedly called and

texted Plaintiff in a manner that would be unfair to any reasonable consumer.

         19.   On or about September 2, 2017, after enduring the harassing phone

calls and texts for weeks, Plaintiff verbally instructed Defendant to “stop calling.”

         20.   Despite Plaintiff’s demand that Defendant stop calling, Defendant

knowingly and willfully ignored Plaintiff and continued to bully, belittle and

beleaguer Plaintiff with repeated collection communications – including phone

calls.

         21.   Defendant informed Plaintiff that it did not want the Vehicle and

would not repossess the Vehicle, but then repossessed the Vehicle in an effort to

confuse and harass Plaintiff.

         22.   The Vehicle was ultimately repossessed and impounded by Defendant

and then sold at auction on or after April 1, 2018.

         23.   Plaintiff has suffered and continues to suffer actual damages as a

result of Defendant’s unlawful, unprofessional and unfair collection tactics and

conduct.

         24.   As a direct consequence of Defendant’s harassing phone calls, acts,

practices and conduct, Plaintiff suffered and continues to suffer from anger,

anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart
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palpitations, and has otherwise been totally annoyed by Defendant’s intrusive and

illegal collection efforts. Plaintiff has also lost the use of personal and family time

while enduring these frustrations.

                           TCPA GENERAL ALLEGATION
      25.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      26.    The TCPA regulates, among other things, the use of automated

telephone dialing systems. 47 U.S.C. § 227(a)(1) defines an automatic telephone

dialing system (“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)    to dial such numbers.

      27.    The TCPA specifically prohibits any call using an ATDS or an

artificial or prerecorded voice to a cellular phone without prior express consent by

the person being called, unless the call is for emergency purposes. 47 U.S.C. §

227(1)(A)(iii).

      28.    Consumers have a right to revoke consent, using any reasonable

means or method, including orally or in writing. Nothing in the language of the

TCPA or its legislative history indicates that Congress intended to override a

consumer’s common law right to revoke consent.

      29.    Additionally, the express terms of the Loan Agreement authorized
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Plaintiff to revoke consent and stop calls by telling an employee of Defendant to

stop.

        30.   From June 2017 into 2018, Plaintiff received numerous calls and texts

from Defendant from the following phone number: (702) 413-1371.

        31.   Defendant contacted Plaintiff on Plaintiff’s cellular telephone number

ending in “3796” via an ATDS as defined by 47 U.S.C. § 227(a)(1). Specifically,

there were slight pauses before each call connected. Moreover, the calls were

made using an artificial voice, a prerecorded voice, or an automated text message.

        32.   Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

        33.   The telephone number that Defendant used to contact Plaintiff was

and is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

        34.   Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

        35.   No later than September 2, 2017, Plaintiff revoked Defendant’s

authority to call Plaintiff by expressly informing an employee of Defendant to “stop

calling.”
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      36.    Despite Plaintiff’s demand that Defendant stop calling, Defendant

knowingly and willfully ignored Plaintiff and continued to bully, belittle and

beleaguer Plaintiff with repeated calls and text messages, using an ATDS.

      37.    Plaintiff suffered actual harm and loss, since the unwanted calls

depleted Plaintiff’s cell phone’s battery, and the cost of electricity to recharge the

phone is a tangible harm. While small, this cost is a real one, and the cumulative

effect can be consequential, just as is true for exposure to X-rays resulting from

Defendant’s unwanted phone calls to Plaintiff’s cell phone.

      38.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls to Plaintiff’s personal phone line when Defendant had no right to do so,

resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects consumers

from this precise behavior.

      39.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      40.    Plaintiff was also personally affected, since Plaintiff felt that her privacy

had been invaded when Defendant placed calls to Plaintiff’s phone line without any

consent to do so.
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                                     COUNT I

                            Violations of the FDCPA
                    (as incorporated through NRS 604A.415)

      41.    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      42.    Any violation of 15 U.S.C. §§ 1692a through j constitutes a violation

of NRS 604A.415.

      43.    Defendant’s conduct violated 15 U.S.C. § 1692d in that Defendant

engaged in behavior the natural consequence of which was to harass, oppress, or

abuse Plaintiff in connection with the collection of a debt.

      44.    Defendant’s conduct violated 15 U.S.C. § 1692d(5) in that Defendant

caused Plaintiff’s phone to ring repeatedly or engaged Plaintiff in repeated

conversations in connection with the collection of a debt.

      45.    Defendant’s conduct violated 15 U.S.C. § 1692e in that Defendant

engaged in false, deceptive or misleading behavior in connection with the

collection of a debt, informing Plaintiff that it did not want the Vehicle and then

repossessing the Vehicle.

      46.    Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant

employed various false representations and deceptive means to collect a debt.

      47.    Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant

employed various unfair, unlawful and unprofessional methods to collect the debt.
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      48.    The foregoing acts and omissions of Defendant constitute numerous

and multiple violations of the FDCPA (and therefore also constitute violations of

NRS 604A.415), including every one of the above-cited provisions.

      49.    Plaintiff is entitled to damages as a result of Defendant’s violations.

      50.    Plaintiff has been required to retain the undersigned as counsel to

protect Plaintiff’s legal rights to prosecute this cause of action, and is therefore

entitled to an award or reasonable attorneys’ fees plus costs incurred.

                                     COUNT II

                           Negligent Violations of the
                      Telephone Consumer Protection Act,
                            (47 U.S.C. § 227, et seq.)

      51.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      52.    Defendant negligently placed multiple automated calls to cellular

numbers belonging to Plaintiff after Plaintiff revoked consent.

      53.    Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

      54.    As a result of Defendant’s negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      55.    Additionally, Plaintiff is entitled to and seek injunctive relief
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prohibiting such conduct by Defendant in the future.

                                    COUNT III

                      Knowing and/or Willful Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

      56.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      57.    Defendant knowingly and/or willfully placed multiple automated calls

to cellular numbers belonging to Plaintiff after Plaintiff revoked consent.

      58.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      59.    As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

      60.    Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that judgment be entered against Defendant

awarding Plaintiff:
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1. for consequential damages pursuant to NRS 604A.930 against each and

   every Defendant for Plaintiff;

2. for statutory damages pursuant to NRS 604A.930 against each and every

   Defendant for Plaintiff;

3. for an award of actual damages pursuant to NRS 604A.930 against each

   and every Defendant for Plaintiff;

4. for an award of punitive damages pursuant to NRS 604A.930 against each

   and every Defendant for Plaintiff;

5. for an award of costs of litigation and reasonable attorney’s fees pursuant

   to NRS 604A.930 against each and every Defendant for Plaintiff;

6. “void” the Debt, bar Defendant from collecting thereon, and compel

   Defendant to turnover any principal, interest or other charges or fees

   collected on the Debt pursuant to NRS 604A.900(1).

7. Injunctive relief prohibiting such violations of the TCPA by Defendant in

   the future;

8. Statutory damages of $500.00 for each and every call in violation of the

   TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

9. Treble damages of up to $1,500.00 for each and every call in violation of

   the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

10. any other legal or equitable relief that the court deems appropriate.
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           TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: August 8, 2018

                                  Respectfully submitted,

                                  By /s/ David Krieger, Esq.

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